
THE COURT.
This is an action to enforce the liability of stockholders of an insolvent bank on an assessment levied by the Superintendent of Banks pursuant to the terms of the Bank Stockholders’ Liability Act (Deering’s Gen. Laws, Act 652A). The assessment was levied April 7, 1932. The action was commenced on May 17, 1935. The lower court sustained a demurrer to the complaint, holding that it was barred by the statute of limitations. Plaintiff appealed.
In Richardson v. Craig, L. A. No. 16521, this day filed (ante, p. 131 [77 Pac. (2d) 1077]), the same issue was presented as in the instant case, and we there held that the three-year period prescribed by section 359 of the Code of Civil Procedure began to run from the time the assessment was levied. On the authority of said case, the judgment is affirmed.
Rehearing denied.
